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MATTHEW D. MULLER
One Embarcadero Center

 

 

Suite SL 1-2, #2563 DEC 1 [] 2913

San Francisco, CA 94126-2563 T COURT
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 2:15-cr-()0205-TLN-EFB
Respondent,
V MOTION FOR APPOINTMENT
° OF COUNSEL AND FORENSIC
MATTHEW MULLER, PSYCHIATRIST
Movant.

 

 

 

 

The Movant MattheW Muller respectlillly requests that the Court appoint him counsel in
this matter, pursuant to 18 U.S.C. § 3006A and Rules 6 and 8 of the Rules Governing § 2255
Proceedings. He further requests that appointed counsel be provided adequate funds With
Which to obtain a forensic psychiatric examination of Movant to ascertain and prove facts
relevant to the § 2255 motion. 7

The Court granted Movant in fortna pauperis status on July 18, 2018. See ECF No. 65
(docket notation). lt subsequently granted Movant filing extensions in response to his requests,

Which detailed mental health issues causing the delay. See ECF Nos. 66, 67, 69, 70, 72. The

MOTION FOR APPOINTMENT _ 1 _

OF COUNSEL United States v. Muller

 

 

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 2 of 18

Movant’s mental health has continued to suffer due to his ongoing solitary confinement in a
Solano County detention facility. See Exhibit A (Movant’s declaration supporting this motion)
and Exhibit B (Solano County mental health records reflecting Movant’s diagnoses of Bipolar

Disorder and Post Traumatic Stress Disorder).

Appointment of Counsel is Requiredfor Mental Health Reasons
and Practical Consl'derations

Courts have found that an incarcerated litigant’s mental health disabilities are sufficient
reason to appoint counsel. See, e.g., Pruz`tt v. Mote, 503 F.3d 647, 655 (7th Cir. 2007) (en
banc); Hamz`lton v. Leavy, 117 F.3d 742, 749 (3d Cir. 1997). This is particularly so in a § 2255
motion that will turn on mental health matters and competence to plead guilty. Further, as
discussed in Movant’s declaration, his § 2255 motion may involve legal claims that cannot be
ruled upon without an expert psychiatric opinion. This is true even at the pleading Stage,
because relevant facts may exist outside Movant’s expertise and insight into his own
psychiatric health. Movant would not know to allege such facts until they are revealed by a
forensic expert.

Appointment of counsel has also been found appropriate where a pro se litigant may have
difficulty marshaling relevant evidence and conducting discovery. See, e.g., Agyeman v.
Corrections Corp. OfAmerica, 390 F.3d 1101, 1104 (9th Cir. 2004); Montgomery v. Pl`ntchak,
294 F.3d 492, 502 (3d Cir. 2002) (directing appointment of counsel where _- as here _ pro
se litigants were likely to face resistance from witnesses and where depositions would be
necessary. See ECF No. _, recent sealed filing regarding likelihood of witness resistance).

Anticipated use of expert testimony also weighs toward appointment of counsel. See,

MOTION FOR APPOINTMENT _ 2 _

OF COUNSEL United States v. Muller

 

 

 

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e.g., Steele v. Shaw, 87 F.3d 1266, 1271 (11th Cir. 1996); Montgomery v. Pintchak, 294 F.3d
492, 504 (3d Cir. 2002) (counsel should be appointed to coordinate expert when medical issues
are complex); Greeno v. Daley, 414 F.3d 645, 658 (7th Cir. 2005).

Additionally, Mr. Muller’s § 2255 motion and asserted lack of competence to plead guilty
are closely intertwined with the conditions of his confinement in “total separation” status for
nearly 20 months at the Sacramento County Main Jail. Those conditions are now the subject
of a large class action lawsuit filed with this Court. See Mays et al. v. County of Sacramento,
No. 2:18-at-01259 (E.D. Cal. July 31, 2018). That action includes both claims and expert
reports chronicling jail conditions during the times Movant was confined there. lt will likely
take both appointed counsel and a psychiatric expert to bring to bear this large trove of
evidence and information directly relevant to Movant’s claims.

Appointment of counsel is also opportune at this moment because Movant is housed
temporarily in a facility close to the Court where appointed counsel can meet with him. Later,
he will return to a remote facility in Arizona.

Finally, it would be inapt to dismiss or deny Movant’s claims after refusing him the
assistance and expert testimony needed-even at the pleading phase_to adequately develop
those claims. See, e.g., Hendricks v. Coughlin, 114 F.3d 390, 392 (2d Cir. 1997) (noting the
“plainly pose[d] Catch-22 problems” of refusing a litigant assistance of counsel until his claims
survive a motion to dismiss, where those claims are unlikely to survive a motion to dismiss
without assistance of counsel); Hughes v. Joliet Correctional Center, 931 F.2d 425, 429-30
(7th Cir. 1991) (criticizing and overruling policy of not appointing counsel until evidentiary
hearings).

MOTION FOR APPOINTMENT _ 3 _

OF COUNSEL United States v. Muller

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 4 of 18

WHEREFORE the Court should appoint counsel to aid its consideration of this matter
and designate funds for a forensic psychiatrist Movant respectfully suggests that appointment
of the Federal Defender’s Office would be appropriate, as that office has many clients affected
by detention issues relevant to this case, making them uniquely well-situated to understand the
issues.

Respectfully submitted this tenth day of December, 2018.

Signed: M`

Matthew D. Muller
Pro Se

MOTION FOR APPOINTMENT _ 4 _

OF COUNSEL United States v. Muller

 

 

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EXHIBIT A

Declaration of Matthew Muller
In Support of Motion

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 6 of 18

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED sTATEs oF AMERICA, NO. 2;15-@r-00205-TLN-EFB
Respondent,
I)ECLARATIoN oF
V' MATTHEW MULLER
MATTHEW MULLER,
Movant.

 

 

 

 

I, Matthew Muller, declare:

1. I am the Movant in this matter and have been proceeding pro se.

2. I have legal training and was previously licensed to practice law. However, for various
practical, procedural and health reasons, I am not able to continue to effectively represent
myself.

3. First, I suffer from diagnosed Bipolar I Disorder and Post-Traumatic Stress Disorder, the
latter as a consequence of a rape and beating l suffered in prison in May of this year. Both of
these conditions are episodic, affecting me little at some times and incapacitating me fully at
others.

4. My psychiatric conditions are exacerbated greatly by certain conditions of confinement
(and that fact will be central to my § 2255 motion). l am currently in the temporary custody
of Solano County, housed in administrative segregation Although my health was immenser

improved by my 2017 transfer away from the Sacramento County Jail and to U.S. Penitentiary

DECLARATION OF _ 1 _

MATTHEW MULLER United States v. Muller

 

 

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 7 of 18

Tucson, it is now deteriorating again-both due to the more restrictive conditions of
confinement here, and due to the ongoing health effects of the attacks mentioned above.

5. ln the past several weeks and presently, l have_with assistance from a paralegal_filed
various documents with the Court that were at least minimally competent pleadings. However,
it is not evident from the face of those documents that they were produced only through
unusual effort and stress far beyond what an unimpaired attorney or pro se party would
experience. Work on the documents commenced in July and has continued sporadically for
months thereafter, despite their simplicity relative to filings l regularly completed while
healthy. For lack of a better simile, it has been the mental equivalent of passing a kidney stone:
feasible with struggle, but extremely unpleasant, and potentially impossible in the future.

6. My mental health has continued to suffer in Solano County. Unlike in Tucson, where l
am confined to a cell only at night and briefly during “count time,” and where l may spend up
to seven hours daily in the open air exercising, in my current facility l am restricted to
confinement in my cell for a much longer period. lt has taken me months to complete filings
in this matter that would have been a few days’ work were l healthy. Given my current health,
it is very possible l will be unable to meet future deadlines or competently represent myself.
lt is even possible l may become unable to aid in my own defense at all.

7. l am requesting funds under 18 U.S.C. § 3006A for appointment of a forensic psychiatrist
due to the centrality of mental health issues in my § 2255 motion, and in this criminal matter
in general. ln the event the Court is inclined not to appoint counsel at this time, l respectfully
request it fund or appoint a forensic psychiatrist to provide an expert opinion on whether l will

likely remain even minimally competent to continue pro se in this matter.

DECLARATION OF _ 2 _

MATTHEW MULLER United States v. Muller

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 8 of 18

8. ln addition, a forensic psychiatrist is required even prior to an evidentiary hearing in order
to develop a sufficient record in the event of appeal. l am bringing a claim that may not be
fully addressed by current caselaw on competence to plead guilty. ln essence, l pleaded guilty
because l wished to die; had fixed plans to commit suicide such that the length of any federal
prison sentence was irrelevant to me (it was not the prospect of a long prison term that
animated my wish to die, only the prospect of continuing to suffer from depression); and in
any event due to depression l falsely believed that mounting any defense would be futile and
pointless.
9. Combining my general understanding of constitutional principles with my subjective
experience of proceedings in 2016, it is inconceivable to me that a defendant in that state of
mind could be competent to plead guilty. Having encountered several federal inmates who,
due to depression, pleaded guilty although actually innocent, l believe this is a crucial legal
issue. ln the event the Court denies my claim on legal grounds, l would like the record on
appeal to include the psychiatric expert opinion necessary to place the issues into clear relief.
10. ln addition to mental health reasons, l believe appointment of counsel is appropriate due
to the sensitivity of certain issues and developments in this case. Those circumstances are set
forth in other pleadings submitted under seal. Based on my experience dealing with the
individuals likely to offer testimony on my motion, they may be hostile witnesses. lt will be
necessary to have counsel available to depose or cross-examine them in any proceedings.

l, Matthew Muller, declare under penalty of perjury that the foregoing is true and correct.

Done this fifth day of December, 2018, in Fairfield, California.

DECLARATION OF _ 3 _

MATTHEW MULLER United States v. Muller

 

 

 

 

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Case 2:15-cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 9 of 18

Signed: M/`

Matthew D. Muller
Pro Se

DECLARATION OF _ 4 _

MATTHEW MULLER United States v. Muller

 

 

 

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EXHlBlT B

Solano County Mental Health
Record Excerpt

 

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Case 2:15-Cr-00205-TLN-EFB Document 82 Filed 12/10/18 Page 12 of 18

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 2:15-cr-00205-TLN-EFB
Respondent,
V [PROPOSED] ORDER
MATTHEW MULLER,

Movant.

 

 

 

 

Movant is a federal prisoner proceeding Without counsel in his motion to vacate, set aside,
or correct his sentence pursuant to 28 U.S.C. § 2255. On December 10, 2018, Movant
requested that the Court appoint him counsel in this matter and allocate funds for appointed
counsel to obtain a forensic psychiatric evaluation of Movant. ECF No.

Good cause appearing, it is ORDERED that the Federal Defenders Office for the Eastern
District of California be appointed to represent Movant in this matter. Appointed counsel is
directed to arrange a forensic psychiatric examination of Matthew Muller using funds allocated

for that purpose.

 

DATED: December __ , 2018
EDMUND F. BRENNAN
UNITED STATES MAGISTRATE JUDGE

 

 

 

Case 2:15-Cr-00205-TLN-EFB Document 82 Filed 12/10/18 Page 13 of'18

CERTIFICATE OF SERVICE

I, Huei Dai, certify that I filed the foregoing documents With the Court via hand
delivery. All other parties to this matter are registered for the electronic case management

system and Will be served automatically by electronic means When documents are

scanned and filed by the Clerk.

Dated: December 10, 2018

Signed: ;§ ; § 1; <=Qy\\

“ H‘géi Dai

 

 

Case 2:15-Cr-00205-TLN-EFB Document 82 Filed 12/10/18 Page 14 of. 18

CERTIFICATE OF SERVICE

I, Huei Dai, certify that I filed the foregoing documents With the Court via hand
delivery. All other parties to this matter are registered for the electronic case management

system and Will be served automatically by electronic means When documents are

scanned and filed by the Clerk.

Dated: December 10, 2018
Signed: M`

“ H‘géi Dai

 

 

 

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MATTHEW D. MULLER
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San Francisco, CA 94126-2563
Matt@projectjfa.org

Pro Se

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 2:15-cr-00205-TLN-EFB

Respondent,

NoTICE oF REQUEST
V' To sEAL DoCUMENTs

MATTHEW MULLER,

Movant.

 

 

NOTICE IS HEREBY GIVEN that the Defendant Matthew Muller is seeking to have
sealed a motion in the above-captioned matter. The material to be sealed includes a request
for the Court to order disclosure of Mr. Muller’s full case file by his former attorneys Sealing
is sought on grounds that privacy concerns relating to sensitive health matters override the
presumption of public access. Further, sealing is necessary to avoid prejudicing interests that
Would be unduly hanned by public disclosure of the information to be sealed. The documents
to be sealed included a Motion for Order Compelling Return of Case File, supporting papers

filed therewith and a proposed order.

NoTICE OF REQUEsT _ 1 _

To SEAL DoCUMENTs United States v. Muller

 

 

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Case 2:15-Cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 16 of 18

A Request to Seal Documents, the above-described documents to be sealed and a
proposed order regarding sealing have been submitted to the Court by electronic mail to the
assigned Magistrate Judge’s proposed orders e-mail boX. This notice, the Request to Seal
Documents, the proposed order and the documents to be sealed Were served on the Respondent
in this matter via first class mail and by electronic mail.

Respectfully submitted this tenth day of December, 2018.

Matthew D. Muller
Pro Se

NoTICE OF REQUEsT _ 2 _

TO SEAL DOCUMENTS United States v. Muller

 

 

 

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Case 2:15-Cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 17 of 18

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 2:15-cr-00205-TLN-EFB
Respondent,
v [PROPOSED] ORDER
MATTHEW MULLER,

Movant.

 

 

 

 

Movant is a federal prisoner proceeding Without counsel in his motion to vacate, set aside,
or correct his sentence pursuant to 28 U.S.C. § 2255. On December 10, 2018, Movant
requested that his Motion for Order to Compel Retum of Case File and supporting documents
be filed under seal.

Movant has demonstrated that the requested sealing is appropriate and has complied With
all procedures relating to a request for sealing. See L.R. 141; Waller v. Georgz'a, 464 U.S. 501
(1984).

Good cause appearing, it is ORDERED that Movant’s Request to Seal Documents (ECF
No. _) is granted. The clerk is directed to file Movant’s Motion for Order Compelling Return
of Case File and its supporting documents under seal.

DATE: , 2018

 

EDMUND F. BRENNAN
UNITED STATES MAGISTRATE JUDGE

 

 

Case 2:15-Cr-OO205-TLN-EFB Document 82 Filed 12/10/18 Page 18 of 18

CERTIFICATE OF SERVICE

I, Huei Dai, certify that I filed the foregoing documents with the Court via hand
delivery. All other parties to this matter are registered for the electronic case management
system and Will be served automatically by electronic means When documents are

scanned and filed by the Clerk.

Dated: December 10, 2018
` Signed: MS

“ H‘\,éinai

 

 

